                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

OTHUMAN NTALE,                        )
          Plaintiff,                  )
                                      )   Civ. Action No. 19-11046-NMG
             v.                       )
                                      )
MAURA HEALEY, et al.,                 )
          Defendants.                 )

                                ORDER

                          September 12, 2019

GORTON, J.

     On September 9, 2019, plaintiff was granted leave to proceed

in forma pauperis.    See Docket No. 6.     At that time, plaintiff was

advised that his complaint is subject to dismissal and he was

granted twenty-one days to file an amended complaint. Id.          The

following day, on September 10, 2019, plaintiff filed his request

to dismiss the case.    See Docket No. 7.

     Plaintiff’s request will be treated as a notice of voluntary

dismissal pursuant to Federal Rule of Civil Procedure 41.       Rule 41

permits a plaintiff to dismiss an action without a court order

where the plaintiff files a notice of dismissal before the opposing

party serves either an answer or a motion for summary judgment.

See Fed. R. Civ. P. 41(a)(1)(A)(i).

     Here, defendants have not answered the complaint nor filed a

motion for summary judgment.     Thus, plaintiff has the right to




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voluntarily dismiss this suit without prejudice pursuant to Rule

41(a)(1)(A)(i).

     In light of the plaintiff’s voluntary withdrawal of this

action, the instant action is dismissed without prejudice.

So ordered.
                                    /s/ Nathaniel M. Gorton
                                    Nathaniel M. Gorton
                                    United States District Judge
Dated: September 12, 2019




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